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 8                              UNITED STATES DISTRICT COURT
 9                                      DISTRICT OF NEVADA
10

11    LAMARTICE, WRIGHT,                              Case No. 2:18-cv-02136-RCJ-VCF
12                      Petitioner,                   ORDER
13           v.
14    BRIAN WILLIAMS, et al.,
15                      Respondents.
16

17          Petitioner having filed an unopposed motion for extension of time (first request) (ECF No.

18   32), and good cause appearing;

19          IT THEREFORE IS ORDERED that petitioner's unopposed motion for extension of time

20   (first request) (ECF No. 32) is GRANTED. Petitioner will have up to and including December

21   11, 2020, to file an opposition to respondents' motion to dismiss (ECF No. 28).

22          DATED: October 21, 2020.
23                                                               ______________________________
                                                                 ROBERT C. JONES
24                                                               United States District Judge
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